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                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION
DE’ON L. CRANE, et al                                    §
                                                         §             CIVIL ACTION NO.
v.                                                       §             4:19-CV-00091-P
                                                         §
CITY OF ARLINGTON, et al                                 §

     APPENDIX SUPPORTING OFFICER ROPER’S MOTION TO STRIKE DECLARATION OF
     VALENCIA JOHNSON IN PLAINTIFFS’ SUMMARY JUDGMENT RESPONSE APPENDIX

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                                                     Respectfully submitted,

                                                     __/s/James T. Jeffrey, Jr.___
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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of this has been served on counsel of record for all parties by electronic
notice via the ECF System for the Northern District of Texas on this 21st day of May, 2021.

                                                              __/s/James T. Jeffrey, Jr.___
                                                              JAMES T. JEFFREY, JR.
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